Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 1 of 20 PageID #: 3691

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
TH:NJM/LRO                                          271 Cadman Plaza East
F. #2018R01784                                      Brooklyn, New York 11201



                                                    March 10, 2023

By E-mail and ECF

The Honorable Pamela K. Chen
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Tawanna Hilliard
                      Criminal Docket No. 19-358 (S-1) (PKC)

Dear Judge Chen:

               The government respectfully submits this letter in advance of the defendant
Tawanna Hilliard’s sentencing in the above-captioned case, which is scheduled for March 14,
2023. The defendant was convicted, following a jury trial in April 2022, on charges of witness
retaliation conspiracy, witness retaliation, obstruction of justice conspiracy, and obstruction of
justice. Pre-Sentence Investigation Report (“PSR”) ¶¶ 1-5. For the following reasons, the
government respectfully requests that the Court impose a sentence of 63 months’ imprisonment.

  I.   Background

               A. The 5-9 Brims

              The 5-9 Brims is a Bloods-affiliated street gang, referred to as “Primetime.” PSR
¶ 11, Tr. 534, 538-39. 1 The 5-9 Brims are one set of the New York Blood Brim Army, or


       1
               References to “Tr.” refer to the pages of the trial transcript. References to “GX”
refer to the government’s trial exhibits, and references to “Ex.” refer to exhibits that were not
marked for trial but are attached hereto. For the Court’s convenience, copies of all referenced
exhibits, which include video files (GX 1, 3, 7A-7P, 8, 9, and 1021) and spreadsheets (GX 655
and 802), have been provided to the Court on a USB drive. Because some of the exhibits reference
personally identifying information of non-parties and others reference individuals’ meetings with
the government, the government respectfully requests permission to file the exhibits under seal.
See United States v. Amodeo, 71 F.3d 1044, 1050-51 (2d Cir. 1995) (privacy interests of third
parties may be compelling reason justifying sealing); United States v. Doe, 63 F.3d 121, 128 (2d
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 2 of 20 PageID #: 3692




“NYBBA,” formed in approximately 1995. Tr. 534-35. The Brims used violence, including prison
slashings and stabbings and, outside of prisons, shootings, to harm their enemies; they would
participate in “[s]hootings, stabbings, robberies, [and] fights.” Tr. 554, 546-47. They would earn
money through robberies, drug trafficking, financial crimes and other unlawful activities. PSR
¶ 11; Tr. 554. This money would often flow to the leaders of the gang, and it would sometimes be
used to buy instruments of the gang’s trades, including “scamming tools, instrument tools, or it
going to, like, guns.” Tr. 554.

                 The 5-9 Brims had rules that members were required to follow. PSR ¶ 15; Tr. 559.
The first rule is “no snitching.” Id. That meant that members were not permitted to “[c]ooperat[e]
with any type of law enforcement.” Tr. 559. That rule was “the most important rule” for the gang.
Tr. 560. When a member violated the “no-snitching” rule, “nine out of ten they probably end up
dead or – or – or close to it.” Tr. 562.

                The 5-9 Brims also had a structure in place, including set leadership positions for
senior members. PSR ¶¶ 12; Tr. 540-43. One of the senior leaders in the gang was “P-Brim,” who
was regarded as the “co-GF of [the] 5-9 Brims,” or co-godfather of the gang. Tr. 592; see also Tr.
550-52; GX 201. Godfather was the highest position in the gang. Tr. 540. At times, a specific
member of the Brims, whose identity is known to the Court (“Brim-1”), was also identified as a
leader of the 5-9 Brims gang, specifically, the godmother of the gang. Tr. 570.

               B. The Defendant

               At all times relevant to the case, the defendant worked as a paralegal at the United
States Attorney’s Office for the District of New Jersey, where she was assigned to support
affirmative civil enforcement actions brought by the United States. Tr. 361. The defendant did
not have any responsibilities relating to criminal cases. Tr. 363.

                 The defendant also shared a child—her son and co-defendant, Tyquan—with a
high-ranking member of the violent 5-9 Brims gang. PSR ¶ 16. As of 2016, the defendant was
still in contact with her child’s father, who was a well-known member of the gang, and she spoke
with him and her son about the gang’s affairs. PSR ¶ 24.

               C. The Defendant’s Involvement with the 5-9 Brims and Prior Gang-Related
                  Conduct

               From at least 2016 on—that is, from the earliest time the government obtained
records relating to her conduct—the defendant was engaged, while at work, in helping her son to
manage his ascension in the 5-9 Brims. Far from a passive observer—or from someone who “has
no sympathy for gangs,” see ECF Dkt. No. 87 at 9, ECF No. 149 (“Def. Mem.”) at 11—the
defendant actively participated in Tyquan’s gang machinations on a number of occasions and in
different ways.



Cir. 1995) (danger to person may be compelling reason to override public’s right of access in
courtroom closure context).


                                                2
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 3 of 20 PageID #: 3693




                       1. The Defendant Participated in Gang Discussions on Recorded Jail Calls

                First, the defendant participated in telephonic strategy sessions about the gang. As
reflected on recorded jail calls, the defendant directly advised her son about how to harm people
in the gang, and how to secure support within the gang in the context of an internecine conflict.
Although sometimes the defendant listened to Tyquan rather than talking, on other occasions she
injected her thoughts.

              The defendant’s discussions with her son included assisting him with understanding
how criminal cases proceeded, specifically in the context of accusations that gang associates were
snitching. See, e.g., GX 301-T (“if he made a plea, he wouldn’t get no 6…he wouldn’t get no 6
years. Not only that, he would be, it would be a fed case, still”).

                Recorded calls also make clear that the defendant coordinated with both Brim-1
and P-Brim on Tyquan’s behalf. GX 302-T (describing interactions with Brim-1); GX 308-T
(Tyquan directing the defendant how to surreptitiously contact P-Brim using a “Get Well card or
I miss you card and put the number on it”). For Brim-1, initially, the defendant was willing to
assist her in her gang-related efforts. For example, in an April 20, 2016 recorded jail call, the
defendant confirmed that Brim-1 had called to see if the defendant could learn whether someone
had “snitched,” and, according to the defendant, stated that Tyquan had accused someone of
cooperating. GX 301-T. The defendant stated that she had looked someone up to see if that name
showed up in the documents—presumably in court filings. Id.; see also GX 302-T (identifying as
a “red flag” the fact that she could not identify people that Brim-1 had cited as federal defendants).
As the defendant conveyed on those calls, Brim-1 believed that the defendant could find out if
somebody had “snitched” (i.e., provided information to law enforcement) by looking up their case
using her employment database access. The defendant reported to Tyquan, in sum and substance
and in part, that if there was not a court transcript, she could not see the document, but admitted
that she had looked up the names anyway, and that after she did so, Brim-1 stopped “calling [the
defendant] back.” GX 302-T.

                  When Tyquan and Brim-1 engaged in an internecine gang dispute, the defendant
weighed in on the strategy that Tyquan and his gang allies, including “Boom” and “Spazz,” should
use to get back at her. See GX 302-T (advising that they wait until “Spazz” “comes through”
because the other members were not “gonna do shit . . . Boom . . . Boom is respecting that fucking
title of hers [i.e., her status as the godmother]”).

                       2. The Defendant Used Protected Systems to Query People on Behalf of
                          the Gang

               During the same period of time, the defendant was running names in both protected
and unprotected systems on behalf of Tyquan and his gang co-conspirators. In a number of calls
from 2016, the defendant agreed to look up people—both at the behest of Brim-1, and then
eventually, she looked up Brim-1 as part of Tyquan’s plotting against Brim-1. See GX 303-T
(announcing on an April 28, 2016 call that she would look up Brim-1).

              Testimony from an RELX employee established that—also on April 28, 2016—the
defendant searched through public records databases for information relating to Brim-1. GX 655;


                                                  3
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 4 of 20 PageID #: 3694




Tr. 229, 238-39. To search in the database, the defendant had to select a “permissible purpose”
under the Gramm Leach Bliley Act (“GLBA”), Tr. 231, and chose “fraud prevention.” The
defendant repeated her search, narrowing down her target until she was able to identify Brim-1’s
date of birth and ultimately her address. GX 655.2

               The day after the defendant’s searches were completed, Tyquan and the defendant
again had a conversation about Brim-1 over a recorded prison telephone:

       Defendant :            . . . But yo, she threw you under the bus just to try to get what she
                              wanted. Now, you know, and I’m sitting here—yo, Tyquan, tell me,
                              I was sitting here thinking. I’m like, “Yo, this bitch is really trying
                              to jam my son up. She really trying.” And I was like, “I don’t, I
                              don’t even know if I can just sit down for this one.” And, and I
                              know her name, too. Her name is [Brim-1’s first name] with a Y—
       Tyquan:                Yeah.
       Defendant:             —[Brim-1’s last name]. And she got an address in, in, in, in the 90s.
                              That’s her physical address. She only was at your [inaudible]. I
                              don’t know who [inaudible]. But that is her name. Her name is
                              [Brim-1’s first name]. You know, like, come on, now. And I
                              know—just like y’all, I don’t know if I can just sit down for that
                              one. And I’m not like y’all. I shouldn’t even be thinking like this,
                              you know, just considering, like, the position that I’m in. You know
                              [inaudible] fucking girl jam me the fuck up. She’s a stupid bitch.
                              She just sitting there, and she watching your face, like, she ain’t
                              doing nothing. Like, that’s a dangerous chick right there.

GX 304-T. In that exchange, the defendant expressed anger that Brim-1 “threw [Tyquan] under
the bus,” suggesting that the defendant needed to take action against Brim-1 (“And I was like, ‘I
don’t, I don’t even know if I can just sit down for this one.’”). The defendant also referenced
information obtained through her LexisNexis query and alluded to her federal employment (“I
shouldn’t even be thinking like this, you know, just considering, like, the position that I’m in”).
Id. In a later conversation that day, after a conversation about someone being accused of being a
“rat,” the defendant stated that Brim-1 was “a fucking bitch, she needs to get fucked up.” GX
305-T.



       2
                 Because the defendant exceeded her authorized access to protected computer
systems when she lied in order to be able to query a protected database to access information
about Brim-1, she was originally charged with exceeding her authorized access to a protected
computer system. See ECF Dkt. No. 1. However, because the defendant was authorized to
access the database for purposes that were consistent with her job on some occasions, in light of
the Supreme Court’s decision in Van Buren v. United States, 593 U.S. ---- (2021), the theory of
liability for “exceeding authorized access” is no longer applicable, and the government did not
pursue the charge.


                                                 4
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 5 of 20 PageID #: 3695




               The defendant also used government systems to run criminal history checks and
obtain information that is not publicly available. See GX 655, Tr. 248. This information was
beyond the scope of anything that the defendant was supposed to do in connection with her
employment, Tr. 362-63, and it was directly consistent with her statements to her son indicating
that she had looked people up, see, e.g., GX 301-T. Tyquan also asked the defendant to “look
up” people in handwritten notes, including some found in the defendant’s apartment. See, e.g.,
GX 211 (“One more person I need to you look up: [Name]. She lives near the Marine Park area.
Somewhere near Kings Highway . . . Write me back when you receive this so I could get it by the
end of next week.”).

               The defendant also used her knowledge of publicly available resources to look
people up to assist her son’s determinations regarding his associates’ claims about where they had
been incarcerated. See, e.g., GX 301-T.

                       3. The Defendant Used Department Of Justice Resources to Assist Her
                          Son in His Gang Activities

                 In addition to the activities discussed at trial, the defendant also used her
Department of Justice computer to assist her son in his gang activities. For example, when the
defendant’s apartment was searched, law enforcement recovered paperwork, including letters from
her son to other gang members. See, e.g., GX 212. Although the defendant continues to deny any
connection to this material, see, e.g., Def. Mem. at 21-22, several pieces of evidence established a
direct connection between the defendant and the gang—including correspondence with the
defendant herself. See GX 205, 207. Additionally, the government was able to identify at least
one letter from the defendant’s U.S. Attorney’s Office computer that is a substantively identical,
typed version of a handwritten letter found at the defendant’s apartment. See GX 2002.3 In the
letter, the defendant typed a note from Tyquan to a senior member of the gang. The defendant’s
letter included a reference to the fact that Tyquan “spoke to Rexo recently.” Id. Rexo “was the
big homey of all the boroughs,” or the “godfather” of the gang outside of prison. Tr. 566. The
letter also vouched for the loyalty of Brim-1 and provided Brim-1’s telephone number. GX 2002.
In the letter, the defendant, on behalf of Tyquan, wrote that “the entire Flatbush is running behind
me and I’m running behind you,” noting that “the Flatbush Komrads,” a reference to gang
members in the Brooklyn neighborhood, knew the “signature.” The beginnings of the two letters
are below:




       3
              GX 2002 and 2003 were not offered at trial but were produced to the defendant in
discovery on July 8, 2020, as part of the materials provided by the defendant’s employer.


                                                 5
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 6 of 20 PageID #: 3696




                                      6
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 7 of 20 PageID #: 3697




               In another letter recovered from the defendant’s Department of Justice computer,
she wrote to Tyquan about her communications with Brim-1, including her arguments about
whether Brim-1 had adequately supported Tyquan and sent him packages while he was
incarcerated. GX 2003. The defendant told Tyquan that she told Brim-1 “she can’t possibly have
love for you when she is trying to sabotage your name and assassinate your character.” Id. She
then complained that Brim-1 had caused Tyquan’s girlfriend to complain to Tyquan’s father about
the defendant.

               D. The 2018 Monticello Robbery and Post-Arrest Statements

                The defendant was equally quick to assist her son when he was arrested in
connection with a violent robbery pattern in 2018. Tyquan and John Doe agreed to, and did, rob
a cellular telephone store on May 11, 2018. PSR ¶¶ 26-27. Tyquan, John Doe and Jane Doe—
John Doe’s girlfriend—drove to Monticello, New York, where Tyquan and John Doe intended to
commit a robbery of a cellular telephone store. Id. In Monticello, Tyquan and John Doe used a
BB gun to scare the employees and customers of the store, forced them into a room and bound
their arms. PSR ¶ 27. They sped away, driven by Tyquan at speeds of over 125 miles per hour,
until they were ultimately caught. Id.

               John Doe and Jane Doe separately made videotaped, Mirandized post-arrest
statements describing their roles in the robbery. PSR ¶ 28; GX 7A-7P; GX 8-9. John Doe also
admitted his role in the robbery, a broader robbery pattern, and the 5-9 Brims gang, as to which he
also implicated Tyquan and others. Id.; GX 7A-7P. Jane Doe made multiple admissions during
her videotaped statement, including admitting her presence in the getaway car and stating that
Tyquan and John Doe committed the robbery.

                 During both interviews, Bureau of Alcohol, Tobacco, Firearms and Explosives
Task Force Officer William Puskas was present and announced on video that he was there as part
of a federal investigation into the Hobbs Act robbery conspiracy, of which the May 3 and May 11
robberies were a part. GX 1, GX 3 (“I work in a federal task force, just wanted to introduce myself,
just to let you know we’re doing a long term investigation.”).

               Ultimately, Tyquan and John Doe were charged with the robbery in state court, and
Jane Doe was released. Tyquan asked John Doe to sign false affidavits exculpating Tyquan for
the robberies, which John Doe signed. After a time, though, Tyquan began to suspect that John
Doe was cooperating with law enforcement. John Doe began to fear that he would be harmed for
implicating Tyquan, so he sought to generate uncertainty by making it appear as if Tyquan had
been cooperating. To that end, John Doe altered paperwork relating to his own statements to law
enforcement to make it appear as though Tyquan had made the statements. John Doe showed the
paperwork to two inmates at the Sullivan County Jail in order to make Tyquan’s accusations
against him less credible. Later, during an encounter in the jail yard, Tyquan told other inmates




                                                 7
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 8 of 20 PageID #: 3698




that John Doe was cooperating with law enforcement. John Doe stated that it was Tyquan who
was cooperating.4

               E. The Defendant’s Efforts to Obtain the Videos

              Tyquan and his mother frequently discussed the possibility that Jane Doe was
cooperating against him. See, e.g., GX 401-T, 402-T, 404-T, 405-T.5 In June 2018, Tyquan
determined that John Doe had “switched lanes,” i.e., that he was cooperating against Tyquan. GX
410-T. The defendant and Tyquan discussed John Doe’s motives for cooperating, and the
defendant acknowledged that John Doe “copped from the beginning . . . To release his girlfriend.”
GX 411-T.

               When Tyquan confirmed that John Doe had made a statement to the authorities, he
concluded that he was going to do a long prison term, telling the defendant “I’m gonna have to do
some time though, Ma,” because “N**** told, man.” GX 412-T. Tyquan clarified that he did not
have a copy of the statement at that point, however. Id. That call took place the same day that
Tyquan’s state attorney received John Doe’s statements in discovery. GX 244.

                 Later that same day, Tyquan called another associate and said that things relating
to his case were “looking ugly” because “[t]hat n**** told.” Tyquan announced that his plan was
to “get all that shit and . . . push that shit out,” i.e., get copies of the videotaped statement and
publish it. He further told the associate that if she saw “Shorty”—a reference to Jane Doe—“[J]ust
tell her, like, ‘Yo, we got everything. Y’all know what y’all did. We got everything.’” GX 414-
T.

                Immediately, Tyquan told the defendant that he wanted “that tape” of John Doe’s
statements. GX 413-T; see also GX 417-T (directing the defendant to demand the discs of the
videos from Tyquan’s lawyer); GX 418-T (same). Tyquan began directing the defendant to “tell
[E] what this dude [John Doe] did,” i.e., to begin rallying the gang troops against John Doe. GX
416-T. He told third parties that he would “have my mom send you that shit, though, of son
switching lanes and all that, . . . whenever she get that shit.” GX 421-T. Tyquan told the defendant
that he wanted to start “exposing n*****s,” referencing John Doe and Jane Doe and describing
their “ratting.” GX 423-T. On July 26, 2018, the defendant advised Tyquan that she “got
everything” from Tyquan’s lawyer—because she “told him [she] want[ed] copies of it”—and

        4
               For the defendant to argue, as she has repeatedly, see, e.g., Def. Mem. 22-23, that
she posted the videos because she was concerned that John Doe’s statements might lead to physical
violence against her son, defies logic and credulity. Had the defendant genuinely been afraid for
her son’s safety, she could have sought assistance from law enforcement—from the United States
Attorney’s Office where she worked, for example. Instead, she took measures to conceal her
identity, exposing John Doe from a gang-related email address created that day. The defendant’s
own words captured on recorded jail calls, along with the title of the video she posted— NYC
Brim Gang Member SNITCHING! Pt. 1—betray her true motivation.
        5
               A summary chart detailing the relevant portions of these calls is attached as GX
1312.


                                                 8
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 9 of 20 PageID #: 3699




pledged that she would “definitely look at this stuff.” GX 424-T. In later describing how much
John Doe had stated on the recorded videos, the defendant noted it was “4 hours or something . . . I
can’t say nothing . . . Over this line? No. He’s disgusting,” before continuing to note that she
would have to talk “face to face” because “I don’t even wanna try to speak, you
know . . . cryptically in a code . . . I don’t have time for no coding crap.” GX 429-T. Thereafter,
on August 4, 2018, Tyquan told the defendant that he wanted the videos “out. I want that out there
tonight.” The defendant responded that she did not know, but she could “holla at Boom [to] come
through, Little E,” and other gang associates. GX 433-T. Tyquan directed the defendant that the
videos of John Doe’s statement “gotta get pushed out ASAP.” Id.

                The next day, the defendant and Tyquan discussed the videos on a recorded jail
call. GX 434-T. Tyquan asked the defendant to upload one of the videos, and the two discussed
possible titles. During the same call, Tyquan also spoke to another one of his associates and
referred to the videos as “ammunition.” On August 5, 2018, the video of John Doe’s statement
was uploaded to YouTube, by the user of a Google account with username
primetime59brim@gmail.com on Gmail and “PRIMETIME 59 BRIM” on YouTube. GX 707.
The video was entitled, “NYC Brim Gang Member SNITCHING! Pt. 1.”

               Also on August 5, 2018, Tyquan asked the defendant to send the video of Jane
Doe’s post-arrest statement to an associate. GX 435-T. Tyquan and the defendant also discussed
“tagging” John Doe in the video, to make it clear he had also “snitched.” Later that day, a different
user uploaded the video of Jane Doe’s statement to YouTube with the title, “NYC Brim Gang
Member Girlfriend SNITCHING ([Facebook name of John Doe]).” The video of John Doe’s
statement quickly garnered over 10,000 views, and a substantial amount of attention on social
media. See, e.g., Ex. 2 (discussion of the videos including a user who tagged Jane Doe and another
who wrote “All [rat emoji] must die”); Ex. 3 (comment targeting Jane Doe, referencing John Doe,
in which the user wrote “he ain’t snitch for you he snitched for himself YOU AND HIM IS
GONNA DIE,” and “he’s gonna get RIPPEDDDD in jail”).

               F. The Defendant Posted the Videos

              The evidence at trial showed conclusively that the defendant uploaded the 30-
minute clip of John Doe’s post-arrest statement to YouTube with the title “NYC Brim Gang
Member SNITCHING! Pt. 1.”6 First, the video was uploaded to YouTube by a user with the
username “Primetime 59 Brim.” GX 707. That user signed up for YouTube on August 5, 2018—
the same date the video was uploaded. GX 702. That user also used the IP Address
69.125.144.207 to log in and to upload the video, id.—an IP address that belonged to the
defendant’s home internet network, GX 554, 556. The defendant’s computer logged into the
primetime59brim@gmail.com account. GX 1012. The other accounts to log in around the same
time belonged to the defendant and her son, who was incarcerated, but with whom she spoke
regularly. GX 701, 703, 802. And, consistent with the testimony of Federal Bureau of



       6
             The defendant inaccurately contends that the “only evidence” connecting her to the
John Doe video “is that someone used her IP address and laptop.” Def. Mem. at 23.


                                                 9
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 10 of 20 PageID #: 3700




Investigation (“FBI”) Special Agent Richard Busick, the defendant’s phone—and thus the
defendant—were located in the vicinity of her apartment at the time. GX 507.

              Moreover, the videos and other related files were stored on the defendant’s laptop.
See GX 1021, 1021A, Tr. 837. Within the defendant’s laptop, they were stored within the
defendant’s password-protected user account. See, e.g., GX 1021A, 1006A, Tr. 856, 1083.

                And other files recovered from the defendant’s laptop included emails from Google
relating to the creation of the Primetime 59 Brims account, temporary search files associated with
5-9 Brims gang members identified by John Doe during his post-arrest statement, See GX 1010 at
83, 1010A, Tr. 830; and files associating “primetime59brim@gmail.com” with the defendant’s
name and personal email address, GX 1011, 1011A, Tr. 831. The evidence at trial thus
demonstrated that the defendant’s computer, logged into the defendant’s account, was used to
upload videos to which the defendant had access from a computer network belonging to the
defendant, all while the defendant was home, after having discussed with Tyquan the ways in
which the videos would be uploaded.

              The evidence similarly established that the defendant shared the video of Jane Doe
with a co-conspirator. She was directed to, by Tyquan; she contacted the co-conspirator and told
her that Tyquan had something to show her; and the defendant then asked the co-conspirator for
her email address and confirmed that she “got” the video. GX 1050. The defendant also shared
Jane Doe’s video publicly through Google Drive. GX 11.

               After posting the video of John Doe and assisting in the posting of Jane Doe’s
video, the defendant remained upset with her victims. One month after the videos were posted,
she messaged with 5-9 Brims gang member “Boom,” writing that a post of Jane Doe with John
Doe was making her upset. GX 1065.7

               G. The Consequences of the Defendant’s Crime

                The defendant’s crime caused serious harm to both John Doe and Jane Doe.
Although the video of John Doe’s post-arrest statement was swiftly removed by YouTube, it
received tens of thousands of views and numerous troubling comments. The defendant’s plan was
a success: the fact of John Doe’s name and cooperation were made known to violent elements of
the criminal world in New York City almost immediately, and John Doe’s name and social media
handle became synonymous with “snitching” to violent criminals who viewed cooperation as
warranting violent retribution. See, e.g., Ex. 4 (social media post from a racketeering investigation
posting unrelated to the defendant, featuring a link to the video and including the text, “Don’t Be
a [John Doe],” with pictures of three large rats).

              Jane Doe also received numerous threats relating to her statements and heard
gunshots outside her apartment, such that law enforcement agents had to relocate her to protect


       7
              Remarkably, the defendant argues that this post from her victim, devoid of context
but dated one month after the defendant’s crime, is somehow mitigating. See Def. Mem. Ex. F at
6.


                                                 10
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 11 of 20 PageID #: 3701




her. Id. ¶ 18. One of the people threatening Jane Doe because of her statements to law enforcement
was persistent enough, and explicit enough in his threats, that he was charged and convicted of
witness retaliation and interstate threats and sentenced by the Honorable Eric N. Vitaliano to 42
months’ imprisonment. See United States v. Arzu, No. 18-CR-498 (ENV).8 When he threatened
to “violate” Jane Doe, he referred to her and John Doe as “FUCKING RATS.”

                The defendant surrendered on August 13, 2019. PSR ¶ 45. On February 23, 2022,
the grand jury returned a superseding indictment adding charges of witness retaliation and witness
retaliation conspiracy to the obstruction of justice, witness tampering, and witness harassment
charges already pending. ECF Dkt. No. 72.9

  II.   United States Sentencing Guidelines (“U.S.S.G.” or the “Guidelines”) Calculation

               The parties and the United States Probation Office (“Probation”) largely agree
about the application of the United States Sentencing Guidelines, with three exceptions. First, the
defendant objects to the PSR’s determination that the dual-object conspiracy of which the
defendant was convicted requires calculation of two discrete offenses: one against John Doe and
one against Jane Doe. See PSR ¶ 47; U.S.S.G. § 1B1.2(d). Second, the defendant objects to the
PSR’s assessment that her conduct “involved causing or threatening to cause physical injury to a
person, or property damage.” PSR ¶ 57, U.S.S.G. § 2J1.2(b)(1)(B). Finally, the government
contends that the defendant’s crimes resulted in “the unnecessary expenditure of substantial
governmental or court resources.” U.S.S.G. § 2J1.2 App. Note 1.

               A. The Defendant Was Convicted of Two Objects in a Dual Object Conspiracy

               The PSR properly calculated the defendant’s Guidelines based on her conviction of
a dual-object conspiracy. Guidelines Section 1B1.2(d) provides that “[a] conviction on a count
charging a conspiracy to commit more than one offense shall be treated as if the defendant had
been convicted on a separate count of conspiracy for each offense that the defendant conspired to
commit.” The Guidelines note that:

               Particular care must be taken in applying subsection (d) because
               there are cases in which the verdict or plea does not establish which
               offense(s) was the object of the conspiracy. In such cases,
               subsection (d) should only be applied with respect to an object
               offense alleged in the conspiracy count if the court, were it sitting as


        8
                The defendant’s repeated attempts to relitigate the Arzu case have no merit. Arzu
allocuted to his guilt to witness retaliation and to communicating violent threats. The defendant’s
arguments that Jane Doe should have been more passive in response to Arzu’s direct aggression
against her constitute needless victim-blaming.
        9
               The defendant’s cavalier and unsubstantiated accusations about the origins of
Counts One and Two in the Superseding Indictment, Def. Mem. at 5, are wrong. In any event, the
defendant’s latest assertion of government misconduct has no bearing on the just punishment for
her serious crimes, and certainly does not constitute a “relevant consideration” for sentencing. Id.


                                                 11
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 12 of 20 PageID #: 3702




               a trier of fact, would convict the defendant of conspiring to commit
               that object offense.

United States v. Robles, 562 F.3d 451, 455 (2d Cir. 2009) (per curiam) (quoting U.S.S.G. § 1B1.2
cmt. n.4). In evaluating whether to group different objects of a multi-object conspiracy, “[a]
primary consideration . . . is whether the offenses involve different victims.” U.S.S.G. § 3D1.2
app. n.8. If they do—even if the victims are harmed in connection with the same overall goal of
the scheme—the cases would typically be treated as separate groups. Id. Here, the jury’s verdict
plainly found that the defendant conspired to, and did, retaliate against both John Doe and Jane
Doe. See ECF Dkt. No. 122 (Verdict Form). Accordingly, there is no basis for the Guidelines not
to reflect the retaliation against both victims. The defendant was on notice of the fact that this was
a dual-object conspiracy, and the parties requested, and received, a special verdict form precisely
to address the Robles issue.

               B. The Conspirators Caused and Threatened to Cause Physical Injury

                 The PSR’s assessment that the defendant’s witness retaliation conspiracy “involved
causing or threatening to cause physical injury to a person, or property damage,” PSR ¶ 57, is
correct. The defendant deliberately targeted her victims, knowingly using the terminology of her
son’s gang to alert members of the violent group that one of its own had “snitched.” She posted
the videos using the YouTube moniker “primetime59brim,” an explicit reference to the 5-9 Brims,
and she titled the video “NYC Bring Gang Member SNITCHING! Pt. 1!” PSR ¶ 35. The
defendant was aware, from knowledge accumulated over many years, including dozens of gang-
related conversations in 2016, that the gang violently punished people who were confirmed to be
snitches. Indeed, the evidence at trial established that the most important rule of the gang was “no
snitching,” and that snitches were severely and violently punished. PSR ¶ 37. When the
defendant’s co-conspirators posted Jane Doe’s video, they used a similar title but added a reference
to John Doe’s Facebook name, so that the 5-9 Brims watching the video would know how to
identify their targets. PSR ¶¶ 35-36.10

                The fact that the defendant caused threats and harm to be inflicted by others, rather
than inflicting it herself, does not defeat the applicability of the enhancement. Indeed, pursuant to

       10
                The jury’s verdict does not, as the defendant claims, suggest a finding “that the
government failed to prove that she used threats, intimidation or harassment.” Def. Mem. at 4.
Indeed, during deliberations, the jury sent a note asking whether the defendant would be guilty of
witness harassment (and conspiracy) if the conduct was designed to “dissuade any person from
reporting [a crime],” or whether it had to be in relation “only to hindering/delaying/preventing/
dissuading SPECIFICALLY John Doe + Jane Doe.” Ct. Ex. 3. The Court responded—
appropriately, in light of the way that the Indictment was drafted—that the jury could convict only
if the conduct was geared towards preventing John Doe or Jane Doe from providing future
information to law enforcement. Tr. 1491. Shortly thereafter, the jury convicted the defendant of
all of the crimes that did not require the defendant to have the intent to dissuade John Doe or Jane
Doe from providing future information to law enforcement authorities—including witness
retaliation conspiracy (specifically found as to both victims), witness retaliation, conspiracy to
obstruct justice, and obstruction of justice.


                                                 12
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 13 of 20 PageID #: 3703




the Guidelines, the defendant is held to account for reasonably foreseeable actions of her co-
conspirators. See generally United States v. McPartland, No. 17-CR-587 (JMA), 2021 WL
3409229, at *11 (E.D.N.Y. Aug. 4, 2021) (holding defendants accountable for “the reasonably
foreseeable actions of their co-conspirators” in the context of § 2J1.2”). Notably, the Eighth
Circuit held that the enhancement was properly applied in a case in which a gang member
“telephoned a friend and instructed her to send an email to two fellow gang members . . . giving
them the ‘green light’ to ‘smash’ the witnesses[.]” United States v. Bender, 927 F.3d 1031, 1032-
33 (8th Cir. 2019). Similarly, the Fifth Circuit held that the enhancement was applicable where
defendant posted on social media, “If you see this guy [an informant] you already know what time
it is” and “People think they can snitch on people and the[re] won’t be any consequences.” United
States v. Trejo, 623 F. App’x 521, 522 (11th Cir. 2015). The defendant was convicted on a
conspiracy theory, and her actions led to numerous reasonably foreseeable threats and attempts at
violence against her victims. The enhancement is properly applied.

                The defendant posted a video to YouTube of a gang member making a post-arrest
statement with the title “NYC Brim Gang Member SNITCHING! Pt. 1.” She used a Google
account named “Primetime 59 Brim” to do it. She discussed, with her co-conspirators—her son
and others—the need to “tag” one of her victims, so that people would know whom to target. And
she did this while knowing that she was setting a violent gang that punished snitches on her victims.
The many threats that the victims received were foreseeable to the defendant—and her family
members fed the frenzy, commenting on the video, shortly after another user wrote that John Doe
was “gonna get bodied [i.e., killed] cuz ain’t no protection the cops gonna give him for this shit.”
“A Hilliard” responded:




               C. The Defendant’s Conduct Resulted in the Unnecessary Expenditure of
                  Substantial Government Resources

               Finally, the government notes that the defendant’s conduct resulted in “the
unnecessary expenditure of substantial governmental or court resources.” U.S.S.G. § 2J1.2 App.
Note 1. Accordingly, a three-level enhancement for the defendant’s “substantial interference with
the administration of justice” pursuant to U.S.S.G. § 2J1.2(b)(2) is appropriate. But for the
defendant’s conduct, the government would not have had to spend substantial resources protecting
John Doe (in custody) and Jane Doe (not in custody). In fact, multiple law enforcement agencies
arranged for and funded temporary accommodations to ensure Jane Doe’s safety after she began
receiving numerous violent threats, and one individual—Carlos Arzu—pled guilty to threatening


                                                 13
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 14 of 20 PageID #: 3704




Jane Doe in relation to her post-arrest statement. The investigation, prosecution, conviction, and
three years long incarceration of Arzu unquestionably constitutes the “expenditure of substantial
governmental or court resources.” Cf. United States v. Roberts, 134 F. App’x 470, 472 (2d Cir.
2005) (applying the enhancement because “[t]he [d]efendant’s fraud precipitated a needless
bankruptcy proceeding, which lasted two and one-half years. The expenditure of court resources
during that period is unquestionably substantial”).

               D. The Guidelines Calculation

              In light of the above analysis, the government proposes that the Court adopt the
following Guidelines calculation:

Witness Retaliation—John Doe:

               Base Offense Level (U.S.S.G. § 2J1.2(a)):                                       14

               Cause or Threat of Physical Injury (U.S.S.G. § 2J1.2(b)(1)(B)):                 +8

               Substantial Interference w/ Administration of Justice (U.S.S.G. § 2J1.2(b)(2) +3

               Subtotal:                                                                       25

Witness Retaliation—Jane Doe:

               Base Offense Level (U.S.S.G. § 2J1.2(a)):                                       14

               Cause or Threat of Physical Injury (U.S.S.G. § 2J1.2(b)(1)(B)):                 +8

               Substantial Interference w/ Administration of Justice (U.S.S.G. § 2J1.2(b)(2) +3

               Subtotal:                                                                       25

Multiple Count Analysis:

               Highest Adjusted Offense Level                                                  25

               Increase for Multiple Counts (U.S.S.G. § 3D1.4)                                 +2

               Total:                                                                          27

A total offense level of 27 and a Criminal History Category of I correspond to a Guidelines range
of 70 to 87 months’ imprisonment.11



       11
                As noted above, the PSR did not initially include a three-level enhancement for the
defendant’s “substantial interference with the administration of justice” pursuant to U.S.S.G.
§ 2J1.2(b)(2), resulting in a total offense level of 24 and a Guidelines range of 51 to 63 months’



                                                14
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 15 of 20 PageID #: 3705




 III.   A 63-Month Sentence Is Appropriate in This Case

                The defendant’s 40-page sentencing submission seeks, in large part, to shirk
accountability and relitigate the issue of her guilt—an issue that was conclusively resolved by the
jury following a week-long trial. Throughout her submission, the defendant repeatedly and
emphatically refuses to accept responsibility for her actions, mischaracterizing the evidence and
asserting that a below-Guidelines sentence is warranted because of the “suffering and
embarrassment her arrest and conviction have caused.” See Def. Mem. at 32; see also id. at 1 n 1
(stating that the defendant “maintains her innocence”), 11 (asserting that the defendant’s “fatal
flaw” is her “unwavering dedication as a mother”), 21 (noting that the defendant “disputes the
jury’s finding”). Simply put, the victims in this case are John Doe and Jane Doe—not the
defendant. A substantial sentence is warranted to address the defendant’s serious crimes, including
her egregious misuse of a position of public trust, and the grave risk of harm deliberately created
by her actions.

               A. The Nature and Circumstances of the Offense Are Serious

                 The nature and circumstances of the defendant’s participation in a gang-driven
offense, aimed at undermining the administration of justice, call for a significant sentence. As
proven at trial, the defendant fulfilled a critical role in the charged conspiracies alongside her
incarcerated son, serving as his eyes and ears outside of the jail and handling much of the dirty
work on his behalf. She was responsible, for instance, for seeking out John Doe and Jane Doe’s
videotaped statements, reviewing and reporting on their contents, and ultimately, uploading the
30-minute clip of John Doe’s video to YouTube under the unmistakable headline: “NYC Brim
Gang Member SNITCHING! Pt. 1.” As she hoped, the videos spread like wildfire, and the
defendant and her co-conspirators celebrated; among other things, the defendant informed Tyquan
that “it’s all over FB [Facebook]” and had “almost 10,000” views.

                As the trial proof made clear, the defendant knew the consequences that would
likely follow—particularly in light of her fluency in the gang’s politics, rules and enforcement
methods. Indeed, evidence recovered from the defendant’s home and computer made clear that
the defendant was well-versed in the rules of the 5-9 Brims, including the first and foremost rule:
“no snitching.” The defendant’s home desk contained letters dating back more than a decade,
discussing Tyquan’s role in the gang and his willingness to “run with” its senior leaders. Law
enforcement also recovered correspondence with the defendant herself, including letters
capitalizing all of the “B’s” (a reference to the Bloods), letters discussing members and leaders
of the 5-9 Brims, and letters—written by the defendant herself—that use express gang references
(for instance, “Macs aint’s Brims no more”). Recovered from the defendant’s TV stand were
pages of gang paperwork, including paperwork about the structure and lineups of the NYBBA,
the BMW, or Brims Most Wanted, list, and the “strict and swift” discipline to be enforced by the
gang. The defendant’s personal laptop similarly contained a file that listed gang oaths, sets,
leaders and rivals. The nature and scope of the defendant’s involvement with the gang resolves


imprisonment. The March 8, 2023 Addendum to the PSR indicates that the “Probation Department
defers to the Court’s ruling at sentencing on whether or not the Government has offered enough
evidence to support this enhancement.”


                                                15
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 16 of 20 PageID #: 3706




any doubt about her awareness of the consequences that would befall John Doe and Jane Doe
once their statements were exposed. Indeed, the defendant made a handwritten note of what John
Doe believed would happen if he cooperated with law enforcement: “They’re going to get me if
I write statements.”

                Nor was the defendant’s conduct a “complete aberration.” Def. Mem. at 2. As
described above, the defendant’s entrenchment in the gang’s business spanned many years—
dating back to at least 2016 when, as established at trial, she intervened in Tyquan’s gang disputes.
The defendant’s belated efforts to disavow the gang are, simply put, inconsistent with the
substantial evidence confirming her longstanding involvement in the gang’s affairs and her
willingness to take criminal action in furtherance of its interests.

               B. A Substantial Sentence Is Necessary to Promote Respect for the Law

                As set forth above and in the PSR, for more than a decade, the defendant was
employed as a paralegal at the United States Attorney’s Office for the District of New Jersey. See
PSR ¶ 100. There, she was entrusted to support Assistant United States Attorneys in a wide array
of responsibilities, including with court filings and discovery. As a member of the Civil Division,
the defendant was primarily responsible for supporting prosecutors in the Affirmative Civil
Enforcement unit, along with handling foreign litigation cases and railroad retirement cases,
among other matters.

               The defendant, however, repeatedly squandered and misused her position of trust,
subverting the criminal justice system in favor of the obstructionist creed of a violent street gang.
For instance, as detailed above, the evidence at trial established that the defendant used her
LexisNexis account—after asking Tyquan for Brim-1’s last name—to query records related to
Brim-1, repeatedly searching for Brim-1’s identifying information. According to a representative
from RELX, each time the defendant did so, she chose a permissible purpose in order to access
protected data. In recorded jail calls, the defendant referenced the information obtained through
her LexisNexis queries, acknowledging that her “position”—i.e., her federal employment—meant
that she “shouldn’t even be thinking like this.” In separate calls, the defendant admitted that, at
the request of Brim-1, she had looked up names of individuals believed to be federal defendants
and concluded that her negative search results constituted a “red flag”—or a sign that the
individuals may have “snitched.” As the defendant’s supervisor confirmed, none of those tasks—
including searching for criminal histories, looking up gang members, and identifying cooperating
witnesses—fell within the scope of the defendant’s duties at the U.S. Attorney’s Office.

                Material recovered from the defendant’s home and from her Department of Justice
computer also demonstrated the defendant’s willingness to allow criminal endeavors to infiltrate
her work in the federal government. For instance, in a notebook recovered from the defendant’s
kitchen—which contained work-related notes from a “Civil Meeting”—the defendant took down
notes regarding John Doe’s post-arrest statements, including references to Tyquan as a “big hat.”
Other letters from recovered from the defendant’s apartment contained express requests for her to
“[l]ook [an individual] up at your job and see if you could get some info on her 4 me.” The
defendant’s Department of Justice computer similarly contained traces of her involvement with
the gang, including a typed document matching a handwritten letter, relating to the 5-9 Brims, that
was recovered from the defendant’s apartment.


                                                 16
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 17 of 20 PageID #: 3707




               In short, unlike many others sentenced in this District, including those who engage
in crime out of desperation, the defendant had the benefit of an education and a promising career
in a position of public trust. See Def. Mem. at 9. Though she possessed the tools to pursue a
legitimate career path—and the judgment to distinguish right from wrong—the defendant instead
victimized those who reported crimes to law enforcement, doing the bidding of a dangerous street
gang that she knew to be violent and retributive towards so-called “snitches.” Rather than
upholding the tenets of the criminal justice system, the defendant sought to undermine it—using
her Department of Justice access to do so. Her actions demonstrate a profound disrespect for the
law and constitute a serious breach of public trust that warrants a serious response.

               C. A Substantial Sentence Is Necessary to Avoid Unjust Sentencing Disparities

               The Court has already imposed sentence on the defendant’s co-conspirator, Tyquan
Hilliard. Because Tyquan’s case resulted in a guilty plea, his Guidelines offense level was lower
than the defendant’s.12 The Court imposed a sentence of 63 months’ incarceration, in large part
because of the seriousness of his crime—and Tyquan, unlike the defendant, accepted that what he
had done was wrong, did not seek to blame his victims, and sought to persuade the Court that he
would not make a similar choice again.

                 The defendant, by contrast, appears capable of rationalizing any dangerous or
problematic behavior away. Her descriptions of the chain of events in the case, frequently
contradicted by the evidence, include her repeated victimization by the government. She has
denied a role in posting the video that she posted or the other that she shared, and she has repeatedly
asserted justifications for her criminal and dangerous behavior. Sentencing her in the same general
range as Tyquan—who held a much worse criminal history—would acknowledge both the
differences in their postures and the similarities in their conduct, and would therefore be
appropriate.

                This defendant did not simply amplify public knowledge regarding the public
testimony of a witness, as in the cases cited in the defendant’s submission. See Def. Mem. at 36-
37 (citing United States v. McClain, No. 19-CR-40, 2020 WL 1503227 (W.D.N.Y. Mar. 30, 2020),
and United States v. Edwards, 291 F. Supp. 3d 828 (S.D. Ohio 2017)). This defendant, a
Department of Justice employee, publicized—in terms directly relevant to the violent street gang
interested in violently punishing such behavior—her victims’ previously confidential, and
otherwise unknown, post-arrest statement to law enforcement authorities. She is not similarly
situated to the defendants in McClain or Edwards.

               Moreover, assuming that the Court applies the Guidelines as advocated by
Probation (an offense level of 24, with a Criminal History Category of I, resulting in a range of 51




       12
               The defendant correctly notes that, in Tyquan’s case, the government did not argue
for the three-point enhancement for substantial interference with the administration of justice.
That was error; the enhancement should have applied.


                                                  17
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 18 of 20 PageID #: 3708




to 63 months),13 the United States Sentencing Commission statistics for the last five fiscal years
show that the median defendant sentenced in that range pursuant to Section 2J1.2 receives a
sentence of 60 months’ imprisonment. See U.S. Sentencing Commission Judiciary Sentencing
Information, available at https://jsin.ussc.gov/analytics/saw.dll?Dashboard (accessed March 9,
2023). All of the defendants received incarceratory sentences. Courts routinely take witness
retaliation cases seriously and impose meaningful prison terms. See generally United States v.
Stoker, 706 F.3d 643, 645 (5th Cir. 2013) (affirming a 108-month consecutive sentence for a
defendant who mailed a witness a copy of the witness’s written statement, used as evidence in an
underlying case against the defendant); United States v. Smith, 230 F.3d 300, 304-05 (7th Cir.
2000) (affirming judgment of conviction when defendant received 93-month sentence in witness
retaliation case in connection with a barfight).

               D. The Defendant’s Serious Crimes Caused Substantial Harm and Call for General
                  Deterrence

              Though the defendant’s crimes did not result in physical injury, they deliberately
generated a grave risk of violence and brutal retribution. Responses to the videos that the
defendant and her co-conspirators posted online were widespread and violent, calling for John
Doe and Jane Doe to be viciously attacked:




       13
              There were an insufficient number of defendants sentenced within the range
advocated by the government under Section 2J1.2, so the Commission did not report statistics for
that range.


                                               18
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 19 of 20 PageID #: 3709




And the risk for John Doe and Jane Doe was not speculative—the 5-9 Brims shot and killed
people for cooperating with law enforcement. Tr. 562. As a result of the defendant’s conduct,
John Doe received death threats in jail, and the FBI received credible information that his mother
was at risk, requiring expenditures of significant government resources to protect John Doe’s
family. PSR ¶ 38. Similarly, Jane Doe heard gunshots outside of her apartment, prompting law
enforcement to relocate her. Ex. 1. At least one individual was convicted of witness retaliation
and interstate threats based on conduct spurred by the defendant’s efforts to publicly broadcast
Jane Doe’s cooperation with law enforcement. See United States v. Arzu, No. 18-CR-498 (ENV).

                The defendant’s actions not only caused chaos, fear and the prospect of violence,
they permanently upended the lives of her victims. Indeed, in Jane Doe’s victim impact statement
(attached hereto as Exhibit 1), she writes to the defendant, “Because of your conduct I have been
a victim of constant bullying on social media. My home address was even shared on Facebook,
giving anyone a target of where to go to harm me. I can no longer associate or speak with anyone
I grew up with. I have received daily death threats.” Jane Doe further writes that she “was
pregnant while [she] dealt with the retaliation caused by [the defendant’s] conduct,” but that she
“had a miscarriage because of the extreme stress and fear caused by this conduct.” She further
wrote that “life is already over and will never turn back to normal,” because of how widespread
the posting of her video was.

                 The defendant deprived her victims of safety and security, and caused them
extreme stress and trauma—effects that continue to haunt her victims to this day. And more
broadly, the defendant’s conduct sent shockwaves far and wide, achieving the gang’s goal of
instilling fear and doubt in citizens who might now stay silent about crimes they have witnessed.
The very nature of the defendant’s crimes serves to destabilize the foundation of the criminal
justice system, necessitating a serious message that crimes against justice will not be tolerated.




                                                19
Case 1:19-cr-00358-PKC Document 151 Filed 03/10/23 Page 20 of 20 PageID #: 3710




                The defendant’s submission, though, does not once acknowledge the harm incurred
by her victims. To the contrary, the defendant complains that her “reputation has been smeared”
and that, as a result of her arrest and conviction, the defendant has “suffered a great deal.” See
Def. Mem. at 3. By seeking to alternately minimize and justify her crimes, the defendant makes
clear that she fails to grasp the seriousness of her conduct or the harm she has inflicted on her
victims.

 IV.   Conclusion

              For the foregoing reasons, the government submits that a term of imprisonment of
63 months is necessary to ensure that the goals of sentencing have been met.



                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:     /s/
                                                    Nicholas J. Moscow
                                                    Lindsey R. Oken
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

cc:    Counsel for the Defendant (by ECF)
       Clerk of Court (PKC) (by ECF)
       U.S. Probation Officer Frank Nikolaidis




                                               20
